Case No. 1:08-cv-01744-CMA-KMT Document 1-2 filed 08/15/08 USDC Colorado pgiof1

Eourt Name: U.5. Bistrict Court, Celorad

Q

Division: 1

Receipt Nusbers COXBL2023
Cashier ID: sg

Transaction Date: @8/15/20B8
Payer Nase: WEEKS LUCHETTA LLP

CIVIL FILING FEE ttCt~*
For: WEEKS LUCHETTA LLP
Asount: $358. 06

CREDIT CARD
fet Tendered: $358.88

' ‘Total Due: $354, 00
Total Tendered: $358.68
Change Ast: $5.68

BS-CV-81744

A fee of $45.88 will be assessed on
any returned check,
